        Case 3:17-cv-02162-EMC Document 378-1 Filed 12/22/23 Page 1 of 6




 1                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 2                                   SAN FRANCISCO DIVISION
 3
 4
      FOOD & WATER WATCH, INC., et al.,
 5
                                                           Case No. 17-CV-02162 EMC
                            Plaintiffs,
 6
                     v.
                                                           APPENDIX A TO JOINT PRETRIAL
 7                                                         CONFERENCE STATEMENT
      UNITED STATES ENVIRONMENTAL
 8                                                         (WITNESSES)
      PROTECTION AGENCY, et al.,
 9
                            Defendants.
10
11
12          A.      Plaintiffs’ Witnesses:
13          1.      Dr. Stanley Barone Jr., MS, Ph.D., is a scientist at the U.S. Environmental
14   Protection Agency (EPA) who the EPA designated as its 30(b)(6) representative on certain issues
15   related to how EPA conducts risk evaluations under the Amended TSCA. Dr. Barone is expected
16   to testify regarding (1) the Hazard Determination framework that EPA uses to identify hazards
17   and calculate hazard values under TSCA; (2) the Margin of Exposure framework that EPA uses
18   to characterize risk under TSCA, including EPA’s consideration of highly exposed individuals
19   (e.g., 95th percentile exposures) and how EPA determines the applicable Uncertainty Factors that
20   determine the acceptable “benchmark” between hazard and exposure; (3) the “Risk Related
21   Factors” that EPA considers when determining if a risk is “unreasonable,” including the degree
22   of confidence that EPA requires for the hazard and exposure data (as addressed, for example, in
23   Trial Exhibit 89); and (4) specific examples of EPA’s Unreasonable Risk determinations under
24   the Amended TSCA, including, but not limited to, the risk determinations identified in Trial
25   Exhibits 90, 91, and 92.
26                         Plaintiffs’ Direct Examination Estimate: 2 hrs.
27                         Defendants’ Cross Examination Estimate: 1 hrs.
28

                                APPENDIX A TO JOINT PRETRIAL CONFERENCE STATEMENT (WITNESSES)
                                                                          CASE NO. 17-CV-02162
                                                                                        PAGE1
         Case 3:17-cv-02162-EMC Document 378-1 Filed 12/22/23 Page 2 of 6




 1          2.      Dr. Brian Berridge, D.V.M., Ph.D., D.A.C.V.P., was the Scientific Director of
 2   the National Toxicology Program (NTP) from 2018 to 2023, where he oversaw the development
 3   and completion of NTP’s May 2022 Monograph on the State of the Science Concerning Fluoride
 4   Exposure and Neurodevelopmental and Cognitive Health Effects: A Systematic Review. Dr.
 5   Berridge also oversaw the development of NTP’s July 2022 manuscript Association between
 6   fluoride exposure and children’s intelligence: A systematic review and meta-analysis. In his
 7   testimony, Dr. Berridge will address (1) NTP’s purposes and procedures, including the hazard-
 8   focused nature of NTP evaluations, as opposed to risk-focused; (2) the extensive review process
 9   that the NTP’s fluoride monograph and meta-analysis on fluoride neurotoxicity have undergone,
10   and (3) why Dr. Berridge made the decision to publish the May 2022 monograph, and how in the
11   normal course of events this would have been the final and dispositive step for publishing the
12   monograph, but was not.
13                          Plaintiffs’ Direct Examination Estimate: 1 hr.
14                          Defendants’ Cross Examination Estimate: 1 hrs.
15          3.      Dr. Philippe Grandjean, MD, DMSc, is a phyisican and internationally
16   esteemed environmental epidemiologist who serves as Chair of Environmental Medicine at the
17   University of Southern Denmark. As detailed in his Trial Declaration (ECF No. 198-3), Dr.
18   Grandjean has been researching the toxicity of fluoride for over 40 years, including its
19   developmental neurotoxicity. Dr. Grandjean is expected to testify that scientific developments
20   that have transpired since the first trial in June 2020 further strengthen the conclusions that (1)
21   developmental neurotoxicity is a hazard of fluoride exposure, and (2) early life exposure to
22   fluoridated water poses a risk of neurodevelopmental harm. The scientific developments that Dr.
23   Grandjean will address include (A) his pooled benchmark dose analyses (Grandjean, et al. 2022;
24   Grandjean, et al. 2023); (B) the NTP’s systematic review and meta-analysis; and (C) other
25   studies published in the scientific literature, including but not limited to the study by Ibarluzea, et
26   al. (2022).
27                          Plaintiffs’ Direct Examination Estimate: 3 hrs
28                          Defendants’ Cross Examination Estimate: 3 hrs.

                                APPENDIX A TO JOINT PRETRIAL CONFERENCE STATEMENT (WITNESSES)
                                                                          CASE NO. 17-CV-02162
                                                                                        PAGE2
         Case 3:17-cv-02162-EMC Document 378-1 Filed 12/22/23 Page 3 of 6




 1          4.      Dr. Howard Hu, MD, MPH, ScD, is the Chair of the Department of Preventive
 2   Medicine, Keck School of Medicine, at the University of Southern California. As detailed in his
 3   Trial Declaration (ECF No. 198-1), Dr. Hu is a highly acclaimed epidemiologist and Principal
 4   Investigator of the NIH-funded ELEMENT birth cohort in Mexico City. Dr. Hu is expected to
 5   testify about additional studies on fluoride that he has conducted subsequent to the first trial,
 6   including an expanded analysis of prenatal fluoride and IQ in the ELEMENT cohort involving a
 7   larger number of mother-child pairs (Goodman, et al. 2022a); and a study of urinary fluoride
 8   levels among pregnant mothers in the MADRES cohort in Los Angeles, California (Malin, et al.
 9   2023). Dr. Hu is expected to testify that these studies are consistent with, and further support,
10   fluoride being a developmental neurotoxicant at levels of exposure seen in fluoridated areas of
11   the United States. Dr. Hu is also expected to provide testimony within the scope of what EPA’s
12   counsel elicited at his deposition regarding the Danish cohort study that he co-authored
13   (Grandjean, et al. 2023), as well as the Ibarluzea study from Spain (Ibarluzea, et al. 2022).
14   Lastly, Plaintiffs may seek leave to permit Dr. Hu to testify about the first-ever study of fluoride
15   and neurodevelopment in a US-based cohort that Dr. Hu recently conducted of the MADRES
16   cohort, which has been submitted for publication in a leading scientific journal.
17                          Plaintiffs’ Direct Examination Estimate: 1.5 hrs
18                          Defendants’ Cross Examination Estimate: 0.75 hrs.
19          5.      Dr. Bruce Lanphear, MD, MPH, is a Professor of Health Sciences at Simon
20   Fraser University in Vancouver, British Columbia. As detailed in his Trial Declaration (ECF No.
21   198-2), Dr. Lanphear published the seminal study on low-level lead’s impact on IQ, which EPA
22   selected as the “critical study” for the national air lead standard. Dr. Lanphear is also the Co-
23   Principal Investigator of the NIH-funded MIREC cohort in Canada where he has studied
24   fluoride’s impact on neurodevelopment. Dr. Lanphear is expected to testify about additional
25   studies on fluoride that he has conducted subsequent to the first trial, including a study that
26   investigated if fluoride’s neurodevelopmental effecs are influenced by maternal iodine deficiency
27   (Goodman, et al. 2022b), as well as a study that investigated the relationship between fluoride
28   exposure and maternal hypothyroidism (Hall, et al. 2023). Dr. Lanphear is expected to testify

                               APPENDIX A TO JOINT PRETRIAL CONFERENCE STATEMENT (WITNESSES)
                                                                         CASE NO. 17-CV-02162
                                                                                       PAGE3
         Case 3:17-cv-02162-EMC Document 378-1 Filed 12/22/23 Page 4 of 6




 1   that these studies are consistent with, and further support, fluoride being a developmental
 2   neurotoxicant at levels of exposure seen in fluoridated areas of the United States. Dr. Lanphear
 3   is also expected to testify regarding hypotheticals that were asked of him by EPA’s counsel at his
 4   deposition.
 5                          Plaintiffs’ Direct Examination Estimate: 1 hr
 6                          Defendants’ Cross Examination Estimate: 0.75 hrs.
 7           6.     Dr. Kathleen Thiessen, PhD, is a risk assessment scientist and President of Oak
 8   Ridge Center for Risk Analysis. As detailed in her Trial Declaration (ECF No. 202-1), Dr.
 9   Thiessen has worked on fluoride health assessments for both the EPA and National Research
10   Council. Dr. Thiessen is expected to testify that (1) the findings of NTP’s systematic review and
11   meta-analysis strongly support an unreasonable risk determination for fluoridation when
12   evaluated under the framework that EPA has used for its first ten finalized risk evaluations under
13   the Amended TSCA; (2) the quality of NTP’s assessment compares favorably to EPA’s
14   assessments of hazard in the first ten final risk evaluations; and (3) the outlier findings of
15   Ibarluzea, et al. (2022) are implausible, and warrant reduced weight.
16                          Plaintiffs’ Direct Examination Estimate: 2 hr
17                          Defendants’ Cross Examination Estimate: 2 hrs.
18           7.     Plaintiffs reserve the right to introduce their designations of the videotaped
19   deposition of Dr. Jesus Ibarluzea should EPA decide not to introduce this deposition during its
20   case.
21           B.     Defendants’ Witnesses:
22           1.     Dr. David Savitz, MS, Ph.D., is a Professor of Epidemiology at Brown
23   University School of Public Health, a Professor of Pediatrics, Obstetrics and Gynecology at
24   Brown University Medical School, and is an Adjunct Professor of Epidemiology at both the
25   Dartmouth School of Medicine and the Boston University School of Public Health. Dr. Savitz
26   chaired the National Academies of Science, Engineering, and Medicine Committees that
27   conducted two reviews of the National Toxicology Program’s (“NTP”) monograph on fluoride
28   neurotoxicity. He is an expert in epidemiology. Dr. Savitz is expected to testify that (1) the

                               APPENDIX A TO JOINT PRETRIAL CONFERENCE STATEMENT (WITNESSES)
                                                                         CASE NO. 17-CV-02162
                                                                                       PAGE4
         Case 3:17-cv-02162-EMC Document 378-1 Filed 12/22/23 Page 5 of 6




 1   weight of the epidemiological evidence does not support the inference that exposure to low
 2   levels of fluoride in drinking water has an adverse effect on neurodevelopment; (2) the NTP
 3   monograph supports this conclusion; (3) the epidemiological studies concerning low levels of
 4   fluoride in drinking water are mixed, with some studies showing no effect, some showing an
 5   effect, and some showing an effect on one gender but not the other; (4) several studies published
 6   since the June 2020 trial, including prospective birth cohort and cross-sectional studies, found no
 7   adverse association between low levels of fluoride exposure and neurodevelopmental outcomes;
 8   (5) the overall weight of the evidence has shifted over the period between June 2020 and now,
 9   with the totality of evidence being less supportive of adverse effects in the exposure range of ≤
10   1.5 mg/L; (6) the fluoride studies of the Spanish Infancia y Medio Ambiente (“INMA”) cohort
11   are as methodologically rigorous as the ELEMENT and MIREC cohort studies and deserve equal
12   consideration; and (7) the benchmark dose calculations by Plaintiffs’ expert Philippe Grandjean
13   are premature due to the uncertainty of the underlying literature, and they fail to include
14   important data from INMA studies. Dr. Savitz will also offer rebuttal opinions to testimony by
15   Plaintiffs’ experts Dr. Grandjean and Dr. Thiessen, including regarding the draft NTP
16   monograph and meta-analysis, the NIEHS Board of Scientific Counselors reviews of those
17   drafts, and their assessment of the scientific studies.
18                          Defendants’ Direct Examination Estimate: 4 hrs.
19                          Plaintiffs’ Cross Examination Estimate: 3.5 hrs.
20          2.      Dr. Stanley Barone Jr., MS, Ph.D., is the Senior Science Policy Advisor and
21   Deputy Science Integrity Official for the United States Environmental Protection Agency’s
22   (“EPA”) Office of Chemical Safety and Pollution Prevention (“OCSPP”). As senior advisor,
23   Dr. Barone provides expert technical advice and guidance to senior management concerning
24   scientific integrity, science policy development, and science coordination. This includes, but is
25   not limited to, an understanding of the agency’s scientific integrity policy and risk evaluation
26   procedures under TSCA and other laws. Dr. Barone is an expert toxicologist and risk assessor
27   with experience in EPA’s first ten risk evaluations under Amended TSCA. Dr. Barone will
28   testify regarding TSCA risk evaluation standards and processes and the weight of the scientific

                                APPENDIX A TO JOINT PRETRIAL CONFERENCE STATEMENT (WITNESSES)
                                                                          CASE NO. 17-CV-02162
                                                                                        PAGE5
         Case 3:17-cv-02162-EMC Document 378-1 Filed 12/22/23 Page 6 of 6




 1   evidence of the potential neurotoxicity of fluoride. Dr. Barone will testify that the scientific
 2   evidence for evaluating the risk of neurotoxic effects from exposure to fluoride, especially
 3   considering the more recent scientific studies published after the first trial, is insufficient for
 4   EPA to reach an informed risk determination under TSCA. Dr. Barone will also offer rebuttal
 5   opinions to testimony by Plaintiffs’ experts Dr. Grandjean and Dr. Thiessen, including their
 6   analysis and interpretation of the NTP’s draft monograph and meta-analysis and opinions
 7   whether fluoridation of public drinking water presents an unreasonable risk under Amended
 8   TSCA.
 9                           Defendants’ Direct Examination Estimate: 4 hrs.
10                           Plaintiffs’ Cross Examination Estimate: 2 hrs.
11           3.      Dr. Jesús Ibarluzea, Ph.D., is an epidemiologist and Professor at the University
12   of the Basque Country in Spain. Dr. Ibarluzea studies the association between maternal fluoride
13   exposure during pregnancy and neurodevelopmental outcomes in offspring in the INMA-
14   Gipuzkoa cohort. The journal Environmental Research published an article reporting the results
15   of a study under the title “Prenatal exposure to fluoride and neuropsychological development in
16   early childhood: 1-to 4 years old children.” That study found no adverse significant association
17   between maternal urinary fluoride and children’s IQ. The journal Environmental Research
18   recently accepted for publication an article reporting the results of another study under the title
19   “Association of maternal prenatal urinary fluoride levels with ADHD symptoms in childhood.”
20   That study similarly found no adverse statistically significant association between maternal
21   urinary fluoride and ADHD symptoms. Dr. Ibarluzea is not retained by EPA and would be called
22   to testify regarding the methodology, results, and conclusions of the studies.
23                           Defendants’ Direct Examination Estimate: 2 hrs.
24                           Plaintiffs’ Cross Examination Estimate: 2.5 hrs.
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                                APPENDIX A TO JOINT PRETRIAL CONFERENCE STATEMENT (WITNESSES)
                                                                          CASE NO. 17-CV-02162
                                                                                        PAGE6
